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                           UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                                LOUISVILLE DIVISION
                         CRIMINAL ACTION NO. 3:21-CR-12-BJB-3

  UNITED STATES OF AMERICA                                                           PLAINTIFF

  V.                                                     Electronically Filed

  NATHANIEL DURHAM                                                                 DEFENDANT

                                           *   * * * *

   ORDER FOR ISSUANCE OF A SUBPOENA FOR THE PRODUCTION OF DOCUMENTS
                               AND DATA



         Upon Motion of the Defendant, NATHANIEL DURHAM, by counsel, for the issuance

  of a subpoena to the Louisville/Jefferson County Metro Emergency Management Agency for the

  production of Documents and Data set out in his motion; and this Court being sufficiently

  advised;

         IT IS HEREBY ORDERED AND ADJUDGED that the Motion is SUSTAINED.
